  Case 1:22-cv-00950-UNA Document 1 Filed 07/20/22 Page 1 of 12 PageID #: 1



                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF DELAWARE

 JACOB WHEELER,                                       )   Case No.
                                                      )
                         Plaintiff,                   )
                                                      )
                                                      )   COMPLAINT FOR VIOLATIONS
                  vs.                                 )   OF THE FEDERAL SECURITIES
                                                      )   LAWS
 F-STAR THERAPEUTICS, INC., ELIOT                     )
 FORSTER, NESSAN BERMINGHAM,                          )   JURY TRIAL DEMANDED
 DAVID ARKOWITZ, TODD BRADY,                          )
                                                      )
 PAMELA KLEIN, EDWARD BENZ, JR.,                      )
 and GEOFFREY RACE,                                   )
                                                      )
                        Defendants.                   )
                                                      )

       Plaintiff Jacob Wheeler (“Plaintiff”), upon information and belief, including an

examination and inquiry conducted by and through his counsel, except as to those allegations

pertaining to Plaintiff, which are alleged upon personal belief, alleges the following for his

Complaint:

                                      NATURE OF THE ACTION

       1.        Plaintiff brings this action against F-Star Therapeutics, Inc. (“F-Star” or the

“Company”) and its corporate directors for violating 14(d)(4), 14(e) and 20(a) of the Securities

Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(d)(4), 78n(e), 78t(a), and U.S.

Securities and Exchange Commission (“SEC”) Rule 14d-9, 17 C.F.R. §240.14d-9(d) (“Rule 14d-

9”), in connection with the Board’s attempt to sell F-Star to invoX Pharma Limited (“Parent”), a

wholly owned subsidiary of Sino Biopharmaceutical Limited (“Sino”) (the “Proposed

Transaction”).

       2.        On June 22, 2022, F-star entered into an Agreement and Plan of Merger with Parent,

Parent’s wholly owned subsidiary, Fennec Acquisition Incorporated (“Purchaser”) and Sino (the

“Merger Agreement”). Under the terms of the Merger Agreement, Parent will acquire F-star for
    Case 1:22-cv-00950-UNA Document 1 Filed 07/20/22 Page 2 of 12 PageID #: 2



$7.12 in cash per share of F-star common stock, via a tender offer (the “Tender Offer”). Pursuant

to the Merger Agreement, Purchaser commenced the Tender Offer on July 7, 2022.

       3.      On July 7, 2022, the Board authorized the filing of the materially incomplete and

misleading Schedule 14D-9 Solicitation/Recommendation Statement (the “Recommendation

Statement”) with the SEC. Specifically, the Recommendation Statement, which recommends that

F-star stockholders tender their shares in the Tender Offer, contains materially incomplete and

misleading information concerning, among other things: (a) the Company’s financial projections

and the financial analyses that support the fairness opinion provided by the Company’s financial

advisor, Morgan Stanley & Co. LLC (“Morgan Stanley”); and (b) potential conflicts of interest

faced by Morgan Stanley and Company insiders.

       4.      It is imperative that the material information omitted from the Recommendation

Statement is disclosed to the Company’s stockholders prior to the forthcoming stockholder vote

so that they can properly exercise their corporate suffrage rights. 1

       5.      For these reasons and as set forth in detail herein, Plaintiff seeks to enjoin

Defendants from taking any steps to consummate the Proposed Transaction unless and until the

material information discussed below is disclosed to the Company’s stockholders or, in the event

the Proposed Transaction is consummated, to recover damages resulting from the defendants’

violations of the Exchange Act.

                                  JURISDICTION AND VENUE

       6.      This Court has jurisdiction over the claims asserted herein for violations of Sections

14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder pursuant to




1The Tender Offer is currently scheduled to expire at one minute past 11:59 p.m., Eastern Time,
on August 3, 2022.


                                                  2
  Case 1:22-cv-00950-UNA Document 1 Filed 07/20/22 Page 3 of 12 PageID #: 3



Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331 (federal question

jurisdiction).

         7.      Personal jurisdiction exists over the defendants because each defendant either

conducts business in or maintains operations within this District, or is an individual with sufficient

minimum contacts with this District so as to make the exercise of jurisdiction by this Court

permissible under traditional notions of fair play and substantial justice.

         8.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because defendants

are found or are inhabitants or transact business in this District.

                                           THE PARTIES

         9.      Plaintiff is, and has been at all relevant times, the owner of shares of F-Star common

stock.

         10.     Defendant F-Star is a Delaware corporation, with its principal executive offices

located at B920 Babraham Research Campus, Cambridge, United Kingdom CB22 3AT. F-star’s

shares trade on the Nasdaq Capital Market under the ticker symbol “FSTX.”

         11.     Defendant Eliot Forster is and has been President, Chief Executive Officer and a

director of the Company at all relevant times.

         12.     Defendant Nessan Bermingham is and has been Chairman of the Board and a

director of the Company at all relevant times.

         13.     Defendant David Arkowitz is and has been a director of the Company at all relevant

times.

         14.     Defendant Todd Brady is and has been a director of the Company at all relevant

times.

         15.     Defendant Pamela Klein is and has been a director of the Company at all relevant

times.


                                                   3
  Case 1:22-cv-00950-UNA Document 1 Filed 07/20/22 Page 4 of 12 PageID #: 4



         16.      Defendant Edward Benz, Jr. is and has been a director of the Company at all

relevant times.

         17.      Defendant Geoffrey Race is and has been a director of the Company at all relevant

times.

         18.      Defendants identified in paragraphs 11-17 are collectively referred to herein as the

“Board” or the “Individual Defendants.”

                                 SUBSTANTIVE ALLEGATIONS

The Proposed Transaction

         19.      On June 23, 2022, F-Star announced that it had entered into the Proposed

Transaction, stating, in relevant part:

         LONDON, June 23, 2022 -- invoX Pharma (“invoX”), a wholly owned subsidiary
         of Sino Biopharmaceutical Limited (“Sino Biopharm”) (HKEX 1177 HK),
         focused on research and development (R&D) and business development activities
         outside of China, and F-star Therapeutics, Inc. (“F-star”) (NASDAQ:FSTX), a
         clinical-stage biopharmaceutical company pioneering bispecifics in
         immunotherapy so more people with cancer can live longer and improved lives,
         today announced that the companies have entered into a definitive agreement
         whereby invoX will acquire all of the issued and outstanding shares of F-star
         common stock for $7.12 per share. The proposed acquisition values F-star at
         approximately $161 million. The transaction has been unanimously approved by
         the invoX and F-star Boards of Directors and is expected to close in the second half
         of 2022.

         F-star’s proprietary platform technology pioneers the use of tetravalent (2+2)
         bispecific antibodies that enable the simultaneous targeting of two different
         antigens and a unique set of pharmacology to deliver focused, potent and safe
         immune activation in the tumor microenvironment. Four programs are progressing
         in clinic, three based on F-star’s tetravalent platform and one next generation
         STING agonist, with multiple further undisclosed programs in development. These
         programs represent potentially first- and best-in-class drug candidates for many
         areas of unmet medical need, including patients with cancer and other serious
         diseases who have few other options available. Leveraging its modular antibody
         technology, F-star has forged collaborations with major international biopharma
         companies across a wide range of therapeutic areas including oncology,
         immunology and neurology.




                                                   4
Case 1:22-cv-00950-UNA Document 1 Filed 07/20/22 Page 5 of 12 PageID #: 5



   invoX, established in 2021 in the United Kingdom, is Sino Biopharm’s
   international expansion platform, focusing on R&D and business development
   activities outside of China, with a core focus on oncology and respiratory
   therapeutics. F-star will form a key element of invoX’s strategy to accelerate Sino
   Biopharm’s development of innovative medicines to transform the lives of patients
   worldwide, complementing its existing R&D platforms and pipeline.

   Ben Toogood, Chief Executive Officer of invoX commented: “Today’s proposed
   acquisition is aligned with invoX’s strategy to become a fully integrated
   biopharmaceutical company with an advancing pipeline of innovative products
   addressing unmet healthcare needs, worldwide. We are excited to welcome F-star
   employees and look forward to working with them as we invest in the company to
   progress and grow its clinical pipeline to realize the full potential of the platform.”

   Eliot Forster, Chief Executive Officer of F-star said: “We believe our tetravalent
   bispecifics offer the best approach to tackle hard-to-treat cancers and other serious
   diseases, with the ambition to deliver longer and improved lives for patients.
   Today’s announcement is good news for F-star, for our shareholders and, of course,
   for patients. This transaction enables greater and longer-term opportunities to
   develop the F-star platform and accelerate delivery of our novel medicines as we
   work together towards a future free from cancer and other serious diseases. I’d like
   to thank the fantastic team at F-star as well as our partners for all their hard work,
   support and dedication and I’m delighted to share this exciting development.”

   Transaction Terms

   Under the terms of the merger agreement, invoX, a wholly owned subsidiary of
   Sino Biopharm, will commence a tender offer within the next 10 business days to
   acquire all of the issued and outstanding shares of F-star common stock for a price
   of US$7.12 per share in cash upon the completion of the offer. The transaction is
   expected to complete in the second half of 2022, subject to certain customary
   closing conditions, including the tender by F-star stockholders of greater than 50
   percent of the issued and outstanding shares of F-star common stock and required
   regulatory approvals, including the expiration of the waiting period under the Hart-
   Scott-Rodino Antitrust Improvements Act of 1976 and other customary closing
   conditions. Following the closing of the tender offer, invoX will acquire any shares
   of F-star that are not tendered in the tender through a second-step merger under
   Delaware law at the tender offer price.

   Advisors

   PJT Partners is acting as financial advisor to invoX, and Morgan Stanley & Co.
   LLC is acting as financial advisor to F-star. Shearman & Sterling LLP is serving as
   legal counsel to invoX and Sino Biopharm and Mintz, Levin, Cohn, Ferris, Glovsky
   and Popeo, P.C. is serving as legal counsel to F-star.




                                             5
  Case 1:22-cv-00950-UNA Document 1 Filed 07/20/22 Page 6 of 12 PageID #: 6



The Materially Incomplete and Misleading Recommendation Statement

         20.   On July 7, 2022, the Board caused to be filed a materially incomplete and

misleading Recommendation Statement with the SEC. The Recommendation Statement, which

recommends that F-Star stockholders tender their shares in the Tender Offer, fails to disclose

material information to Company stockholders, or provides them with materially misleading

information, concerning: (a) Company’s financial projections and the financial analyses that

support the fairness opinion provided by the Company’s financial advisor, Morgan Stanley; and

Bb) potential conflicts of interest faced by Morgan Stanley and Company insiders.

Material Misrepresentations and/or Omissions Concerning F-Star’s Financial Projections and
Morgan Stanley’s Financial Analysis

         21.   The Recommendation Statement fails to disclose material information concerning

the financial projections for F-Star. For example, the Recommendation Statement sets forth that

the Company’s financial projections “reflect risk-adjusted outlooks.” Recommendation Statement

at 35.     Yet, the Recommendation Statement fails to disclose a summary of Company

management’s non-risk-adjusted projections so that F-star stockholders can assess the effect the

risk-adjustments had on the Company’s projections.

         22.   The Recommendation Statement also fails to disclose material information

concerning Morgan Stanley’s financial analyses.

         23.   With respect to Morgan Stanley’s Discounted Cash Flow Analysis, the

Recommendation Statement fails to disclose a quantification of: (a) the estimated unlevered free

cash flows of the Company after fiscal year 2040, used to calculate the Company’s terminal values;

(b) the terminal values for the Company; (c) the inputs and assumptions underlying the discount

rates ranging from 12.2% to 14.2%; and (iv) the number of shares to be issued in connection with

the Company’s assumed additional equity capital raises.



                                                6
  Case 1:22-cv-00950-UNA Document 1 Filed 07/20/22 Page 7 of 12 PageID #: 7



Material Misrepresentations and/or Omissions Concerning Morgan Stanley’s and Company
Insiders’ Potential Conflicts of Interest

       24.     The Recommendation Statement fails to disclose material information concerning

potential conflicts of interest faced by Morgan Stanley.

       25.     For example, the Recommendation Statement fails to disclose whether the

Company anticipates paying Morgan Stanley the “additional discretionary fee of up to $2.5

million.” Id. at 35.

       26.     Additionally, the Recommendation Statement fails to disclose whether Morgan

Stanley has performed any services for Sino in the two years prior to the date of its fairness opinion

and, if so, the details of the services performed, and any fees received for such services.

       27.     The Recommendation Statement also fails to disclose material information

concerning Company insiders’ potential conflicts of interest.

       28.     For example, the Recommendation Statement fails to disclose when Company

management first became aware of the opportunity for management retention with the post-close

company, including whether any of Parent’s and Sino’s proposals or indications of interest

mentioned management retention in the combined company following the Proposed Transaction

or the purchase of or participation in the equity of the surviving corporation.

       29.     The omission of the above-referenced information renders statements in the

“Certain Financial Projections,” “Opinion of the Company’s Financial Advisor,” and “Background

of the Offer” sections of the Recommendation Statement materially incomplete and misleading in

contravention of the Exchange Act. Absent disclosure of the foregoing material information prior

to the expiration of the Tender Offer, Plaintiff and the other stockholders of F-star will be unable

to make a sufficiently informed decision in connection with the Tender Offer and are thus

threatened with irreparable harm warranting the injunctive relief sought herein.



                                                  7
  Case 1:22-cv-00950-UNA Document 1 Filed 07/20/22 Page 8 of 12 PageID #: 8



                                      CLAIMS FOR RELIEF

                                              COUNT I

             Claims Against All Defendants for Violations of Section 14(d) of the
                Exchange Act and SEC Rule 14d-9 Promulgated Thereunder

       30.     Plaintiff repeats all previous allegations as if set forth in full.

       31.     Defendants have caused the Recommendation Statement to be issued with the

intention of soliciting F-Star stockholders to tender their shares in the Tender Offer.

       32.     Section 14(d)(4) of the Exchange Act and SEC Rule 14d-9 promulgated thereunder

require full and complete disclosure in connection with tender offers.

       33.     Section 14(d)(4) of the Exchange Act states:

       Any solicitation or recommendation to the holders of such a security to accept or
       reject a tender offer or request or invitation for tenders shall be made in accordance
       with such rules and regulations as the Commission may prescribe as necessary or
       appropriate in the public interest or for the protection of investors.

       34.     SEC Rule 14d-9 sets forth, in relevant part:

       Any solicitation or recommendation to holders of a class of securities referred to in
       section 14(d)(1) of the Act with respect to a tender offer for such securities shall
       include the name of the person making such solicitation or recommendation and
       the information required by Items 1 through 8 of Schedule 14D-9 (§ 240.14d-101)
       or a fair and adequate summary thereof[.]

       35.     Item 8 of Schedule 14D-9 requires a company’s directors to “[f]urnish such

additional material information, if any, as may be necessary to make the required statements, in

light of the circumstances under which they are made, not materially misleading.”

       36.     The Recommendation Statement violates Section 14(d)(4) and Rule 14d-9 because

it omits material facts, including those set forth above, which omission renders the

Recommendation Statement false and/or misleading.

       37.     Defendants knowingly or with deliberate recklessness omitted the material

information identified above from the Recommendation Statement, causing certain statements


                                                   8
  Case 1:22-cv-00950-UNA Document 1 Filed 07/20/22 Page 9 of 12 PageID #: 9



therein to be materially incomplete and therefore misleading.                Indeed, while defendants

undoubtedly had access to and/or reviewed the omitted material information in connection with

approving the Proposed Transaction, they allowed it to be omitted from the Recommendation

Statement, rendering certain portions of the Recommendation Statement materially incomplete

and therefore misleading.

        38.     The misrepresentations and omissions in the Recommendation Statement are

material to Plaintiff and the other stockholders of F-Star, who will be deprived of their right to

make an informed decision whether to tender their shares or seek appraisal if such

misrepresentations and omissions are not corrected prior to the expiration of the Tender Offer.

Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s equitable

powers can Plaintiff be fully protected from the immediate and irreparable injury that defendants’

actions threaten to inflict.

                                              COUNT II

     Claims Against All Defendants for Violations of Section 14(e) of the Exchange Act

        39.     Plaintiff repeats all previous allegations as if set forth in full.

        40.     Section 14(e) of the Exchange Act provides that it is unlawful “for any person to

make any untrue statement of a material fact or omit to state any material fact necessary in order

to make the statements made, in the light of the circumstances under which they are made, not

misleading . . . in connection with any tender offer or request or invitation for tenders, or any

solicitation of security holders in opposition to or in favor of any such offer, request, or invitation.”

15 U.S.C. § 78n(e).

        41.     Defendants violated Section 14(e) of the Exchange Act by issuing the

Recommendation Statement to F-Star stockholders in which they made untrue statements of

material facts or failed to state all material facts necessary in order to make the statements made,


                                                    9
 Case 1:22-cv-00950-UNA Document 1 Filed 07/20/22 Page 10 of 12 PageID #: 10



in light of the circumstances under which they are made, not misleading. Specifically, the

Recommendation Statement misrepresented and/or omitted material facts concerning the

Company’s financial projections, Goldman Sachs’ financial analyses, the background of the

Proposed Transaction, and Company insiders’ potential conflicts of interest.

       42.     Defendants knew that Plaintiff would rely upon their statements in the

Recommendation Statement in determining whether to tender his shares pursuant to the Tender

Offer or seek appraisal.

       43.     As a direct and proximate result of these defendants’ unlawful course of conduct in

violation of Section 14(e) of the Exchange Act, absent injunctive relief from the Court, Plaintiff

has sustained and will continue to sustain irreparable injury by being denied the opportunity to

make an informed decision in deciding whether or not to tender his shares or seek appraisal.

                                             COUNT III

                   Claims Against the Individual Defendants for Violations
                            of Section 20(a) of the Exchange Act

       44.     Plaintiff repeats all previous allegations as if set forth in full.

       45.     The Individual Defendants acted as controlling persons of F-Star within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of F-Star, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the false statements contained in the Recommendation

Statement filed with the SEC, they had the power to influence and control and did influence and

control, directly or indirectly, the decision-making of the Company, including the content and

dissemination of the various statements which Plaintiff contends are false and misleading.

       46.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Recommendation Statement and other statements alleged by Plaintiff to be



                                                  10
 Case 1:22-cv-00950-UNA Document 1 Filed 07/20/22 Page 11 of 12 PageID #: 11



misleading prior to and/or shortly after these statements were issued and had the ability to prevent

the issuance of the statements or cause the statements to be corrected.

        47.    In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the securities violations

as alleged herein, and exercised the same. The Recommendation Statement at issue contains the

unanimous recommendation of each of the Individual Defendants to approve the Proposed

Transaction. They were, thus, directly involved in the making of the Recommendation Statement.

        48.    In addition, as the Recommendation Statement sets forth at length, and as described

herein, the Individual Defendants were each involved in negotiating, reviewing, and approving the

Proposed Transaction. The Recommendation Statement purports to describe the various issues

and information that they reviewed and considered—descriptions the Company directors had input

into.

        49.    By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

        50.    As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(e), Section 14(d) and

SEC Rule 14d-9, promulgated thereunder, by their acts and omissions as alleged herein. By virtue

of their positions as controlling persons, these defendants are liable pursuant to Section 20(a) of

the Exchange Act. As a direct and proximate result of defendants’ conduct, F-Star stockholders

will be irreparably harmed.




                                                 11
 Case 1:22-cv-00950-UNA Document 1 Filed 07/20/22 Page 12 of 12 PageID #: 12



                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment and preliminary and permanent relief,

including injunctive relief, in his favor on behalf of F-Star, and against defendants, as follows:

       A.      Preliminarily and permanently enjoining defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction,

including the expiration of the Tender Offer, unless and until defendants disclose the material

information identified above which has been omitted from the Recommendation Statement;

       B.      In the event defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages to Plaintiff;

       C.      Directing the Individual Defendants to file a Recommendation Statement that does

not contain any untrue statements of material fact;

       D.      Awarding Plaintiff the costs of this action, including reasonable allowance for

Plaintiff’s attorneys’ and experts’ fees; and

       E.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff demands a trial by jury on all claims and issues so triable.

 Dated: July 20, 2022                                  LONG LAW, LLC

                                                  By /s/ Brian D. Long
                                                     Brian D. Long (#4347)
                                                     3828 Kennett Pike, Suite 208
                                                     Wilmington, DE 19807
                                                     Telephone: (302) 729-9100
                                                     Email: BDLong@longlawde.com

                                                       Attorneys for Plaintiff




                                                 12
